Case 1:18-cr-20953-MGC Document 68 Entered on FLSD Docket 10/10/2019 Page 1 of 6




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Case 1:18-cr-20953-MGC Document 68 Entered on FLSD Docket 10/10/2019 Page 2 of 6




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              Case No. 18-20953CR-COOKE
           -
UNITED STATES OF AMERICA

Vs.

TERRANCE REYNOLDS,

        Defendants.
- - - - - - - - - - - - - - - - -I
                      RESPONSE FROM THE COURT TO THE JURY

Ladies and Gentlemen,

You must consider only the evidence that I have admitted in this case. Evidence

includes the testimony of the witnesses and the admitted exhibits.

Your own recollection and interpretation of the evidence is what matters.

Interview notes from the FBI with Mr. Reynolds were not admitted.

There is no available transcript of Mr. Butler's testimony.

Please review the instructions on pages 3 and 4.




Date:
                                                    !&~o§GrJ0
                                                    U.S. DISTRICT JUDGE
Case 1:18-cr-20953-MGC Document 68 Entered on FLSD Docket 10/10/2019 Page 3 of 6




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              Case No. 18-20953CR-COOKE

UNITED STATES OF AMERICA

Vs.

TERRANCE REYNOLDS,

        Defendants.
- - - - -- -- - - -- -- - -~/

                      RESPONSE FROM THE COURT      to THE JURY
Ladies and Gentlemen,

Evidence can come in many forms. It can be testimony about what someone saw or

heard or smelled. It can be an exhibit admitted into evidence. It can be someone's

opinion. Some evidence proves a fact indirectly, such as a witness who saw wet grass

outside and people walking into the courthouse carrying wet umbrellas. Indirect

evidence, sometimes called circumstantial evidence, is simply a chain of circumstances

that proves a fact. As far as the law is concerned, it makes no difference whether

evidence is direct or indirect. You may choose to believe or disbelieve either kind and

should give every piece of evidence whatever weight you think it deserves.




Date:                                                     J
                                                      ARCIA G. COOKE
                                                    U.S. DISTRICT WDGE
Case 1:18-cr-20953-MGC Document 68 Entered on FLSD Docket 10/10/2019 Page 6 of 6




                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. 18-20953-CR-COOKE

  UNITED STATES OF AMERICA

  Vs.

  TERRANCE REYNOLDS,

      Defendant.
  _ _ _ _ _ _ _ _ _ _ _ _ _!

                                              QUESTION/NOTE FROM THE
                                                JURY TO THE COURT



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